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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



UNITED STATES OF AMERICA,                     )
                                              )
              Plaintiff,                      )
                                              )      CRIMINAL ACTION FILE
v.                                            )
                                              )      NUMBER 1:10-cv-521-7-TCB
NIGEL EDWARDS,                                )
                                              )
              Defendant.                      )



                                       ORDER

       This case is currently before the Court on Magistrate Judge Alan J.

Baverman’s Report and Recommendation (the “R&R”) [488]. No

objections to the R&R have been filed.

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th

Cir. 1982)). 1 This review may take different forms, however, depending on



       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981, as well as all decisions issued after that date by a Unit B
panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir.
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whether there are objections to the R&R. The district judge must “make a

de novo determination of those portions of the [R&R] to which objection is

made.” 28 U.S.C. § 636(b)(1)(C). In contrast, those portions of the R&R to

which no objection is made need only be reviewed for clear error. Macort

v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006). 2

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s findings

and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at

732. The district judge may also receive further evidence or recommit the

matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).

      The Court has conducted a careful and complete review of the R&R

and finds no clear error in its factual or legal conclusions. Therefore, the

Court ADOPTS AS ITS ORDER the R&R [488]. Defendant’s request for an

1982); see also United States v. Schultz, 565 F.3d 1353, 1361 n. 4 (11th Cir.2009)
(discussing the continuing validity of Nettles).
      2 Macort dealt only with the standard of review to be applied to a magistrate’s

factual findings, but the Supreme Court has held that there is no reason for the district
court to apply a different standard to a magistrate’s legal conclusions. Thomas v. Arn,
474 U.S. 140, 150 (1985). Thus, district courts in this circuit have routinely applied a
clear-error standard to both. See Tauber v. Barnhart, 438 F. Supp. 2d 1366, 1373–74
(N.D. Ga. 2006) (collecting cases). This is to be contrasted with the standard of review
on appeal, which distinguishes between the two. See Monroe v. Thigpen, 932 F.2d 1437,
1440 (11th Cir. 1991) (when a magistrate’s findings of fact are adopted by the district
court without objection, they are reviewed on appeal under a plain-error standard, but
questions of law remain subject to de novo review).

                                            2
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evidentiary hearing is DENIED, and his motion to suppress is DENIED as

to Target Telephone 3, DENIED AS WITHDRAWN to Target Telephone 8,

and DENIED as to Target Telephone 9.

     IT IS SO ORDERED this 24th day of February, 2012.



                                         _______________________
                                            Timothy C. Batten, Sr.
                                            United States District Judge




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